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                                            United States District Court
                                                               Central District of California

                                    APPLICATION TO THE CLERK TO TAX COSTS


ESTATE OF FERAS MORAD,et al.
                                                                                      Case Number: 16-CV-06785-MWF-AJW

CITY OF LONG BEACH,et al.


Judgment was entered in this action on 07-20-2018 j 204                                  against Plaintiffs
                                                        Date             Docket No.



  NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.


Filing fees: see L.R. 54-3.1
Fees for service of process: see L.R. 54-3.2.                                                                                                                                  $460.00

United States Marshal's fees: see LR. 54-3.3,

Reporter's transcripts: see L.R. 54-3.4.
                                           Per L.R., Cost of rough draft depositions are not allowed for tax costs. Accordingly, $649.50 is not taxable.                 $19,356.90
Depositions; see L.R. 54-3.5                                                                                                                                              $19,925.90
                                                                                    See Attached                                                                               $8,494.31
Witness fees (itemize on page 2): see L.R. 54-3.6.,                                                                                                                         $9,794.31

Interpreter's and translator's fees: see L.R. 54-3.7,
Docket fees: see L.R. 54-3.8.

Masters, commissioners and receivers: see LR. 54-3.9.

 Certification, exemplification and reproduction of documents; see L.R. 54-3.10.
Premiums on bonds and undertakings: see L.R. 54-3.11
 Other Costs: see LR. 54-3.12 (attach court order)

State Court costs: see L.R. 54-3.13.

 Costs on appeal: see L.R. 54-4
 Cost of a bankruptcy appeal to the District Court:see LR.54-5.
                                                                                                                                                                           $28,311.21
                                                                                                                                                TOTAL                      $30,180.21

NOTE;You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                            DECLARATION                                                                  '
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              [7] The Court's CM/ECF System
              I I Conventional service by first class mail
              I I Other
                                                                                                            Howard D. Russell, Deputy City Attorney
 Signature                                                                                                   Print Name



 Attorney for: City of Long Beach and Robert Luna

 Costs are taxed in the amount of $28,311.21

                                                                                                                                                           September 6, 2018
  Kiry K. Gray
 Clerk of Court                                                         Deputy Cierli Martha L. Cabrera

CV-59(12/14)                                                                    BILL OF COSTS
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                              WITNESS FEES(computation,see 28 U.S.C.§ 1821 for statutory fees)
                                                 ATTENDANCE            SUBSISTENCE        MILEAGE
                                                                                                             Total Cost
               NAME,CITY AND STATE
                                                                                                            Each Witness
                                                Days   Total Cost   Days   Itemization
                                                                            Total Cost   and Total Cost
                                                                                       Miles

       Michael Leonesio, Knoxville,TN            1     $1,360.00           documentation for all                  $1,360.00

       Rick Sarklsian, Ph.D., Fresno, CA          1    $1,462.50           requested costs is                     $1,462.50

  Anthony Reading,Ph.D., Beverly Hills, CA       1     $1,400.00 $700.00   required. A "Check             $700.00 $1,400.00
                                                                           Request" is not
         Darryl Zengler, Pasadena,CA              1     $700.00                                                     $700.00
                                                                           sufficient documentation
   Michael Fishbein, M.D.,Los Angeles,CA          1    $1,200.00 $600.00                                  $600.00 $1,200.00
                                                                           supporting the
        John Gardiner, Los Angeles, CA            1    $2,250.00           requested costs.                       $2,250.00

      Scott Defoe,Huntington Beach,CA             1    $1,050.00           Accordingly, $1,300.00                 $1,050.00

          David Jackson, Orange,CA                1     $40.00             is not taxable.
                                                                                       68.4    $36.93                 $76.93

      Marshaun Jackson, Long Beach,CA             1     $40.00                         53.8      $29.05              $69.05

       Ryan Fobes,Thousand Oaks,CA                1     $40.00                        91.59      $49.46               $89.46

       Sopheary Doun,Long Beach,CA                1     $40.00                         52.8      $28.51               $68.51

      Brianna Degrano,Long Beach,CA               1     $40.00                         51.6      $27.86               $67.86




                                                                                                                  $8,494.31
                                                                                                  TOTAL           $9,794.31



CV-59(12/14)                                           BILL OF COSTS                                             Page 2 of2
